January 5, 2021PROB 35                                                          Report and Order Terminating Supervision
(Reg 3/93)                                                                               Prior to Original Expiration Date



                               UNITED STATES DISTRICT COURT
                                            FOR THE
                              EASTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

                         v.                                    Crim. No. 5:01-CR-90-1H

JAMES CURTIS JOHNSON

        On April 25, 2018, the above named was released from prison and commenced a term of supervised
release for a period of 60 months. The offender has complied with the rules and regulations of supervised
release and is no longer in need of supervision. It is accordingly recommended that the offender be
discharged from supervision.

                                                       I declare under penalty of perjury that the foregoing
                                                       is true and correct.


                                                       /s/ Van R. Freeman, Jr.
                                                       Van R. Freeman, Jr.
                                                       Deputy Chief U.S. Probation Officer
                                                       150 Rowan Street Suite 110
                                                       Fayetteville, NC 28301
                                                       Phone: 910-354-2542
                                                       Executed On: January 5, 2021


                                          ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision and that
the proceedings in the case be terminated.

         Dated this _11th_ day of ____January, 2021.




                                                              Malcolm J. Howard
                                                              Senior U.S. District Judge




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